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                                 2435 Lyvere St


            New York

                   Google Street View

            Jun 2018     See latest date




                                                                                                  Image capture: Jun 2018   © 2024 Google




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